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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

 United States of America,

          Plaintiff,

 v.                                              Case No. 07-20283

 Armando Canez (D-17),                           Honorable Sean F. Cox

       Defendant.
 ____________________________/

                                          OPINION & ORDER

          This matter is before the Court on three pretrial motions filed by Defendant Armando

 Canez (“Defendant” or “Canez”).1 For the reasons below, the Court shall: 1) DENY

 Defendant’s Motion to Dismiss for Violations of Defendant’s Right to a Speedy Trial (Docket

 Entry No. 292); 2) DENY Defendant’s Motion for Order Setting a Daubert Hearing (Docket

 Entry No. 311); and 3) DENY Defendant’s Motion To Dismiss Indictment For Government’s

 Failure To Preserve Evidence (Docket Entry No. 314).

                                             BACKGROUND

          This case involves an alleged large-scale marijuana conspiracy which operated over the

 course of several years through several different states. Seventeen defendants have been indicted

 in this case.

          The original indictment in this case was filed, under seal, on May 24, 2007. It charged

 Defendant Kevin Brewer and four other defendants with conspiracy to possess with intent to


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              The pretrial motion filed by the Government will be addressed in a separate Opinion &
 Order.

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 distribute and to distribute marijuana, over 1000 kilograms, in violation of 21 U.S.C. §§

 841(a)(1) and 846.

        The First Superceding Indictment was filed, under seal, on October 11, 2007. It added

 five other defendants.

        The Second Superceding Indictment was also filed, under seal, on October 11, 2007. It

 added Jesus Javier as a defendant.

        On March 25, 2008, another indictment was filed, charging the first ten defendants with

 conspiracy and adding a forfeiture count. This indictment was titled Second Superceding

 Indictment, although it was actually the third superceding indictment.

        On April 24, 2008, a Fourth Superceding Indictment was filed, once again naming Jesus

 Javier Raya, and adding two new defendants.

        On June 19, 2008, a Fifth Superceding Indictment was filed, adding two new defendants.

 Sixth Superceding Indictment:

        Canez was indicted, under seal, on December 4, 2008, in the Sixth Superceding

 Indictment. The Sixth Superceding Indictment charges Canez with two counts: 1) Conspiracy to

 Possess with Intent to Distribute and to Distribute Marijuana, Over 1000 Kilograms, in violation

 of 21 U.S.C. §§ 841(a)(1) & 846 (Count I); and Criminal Forfeiture, under 21 U.S.C. § 853

 (Count II).

        Canez was arrested on April 27, 2010, in Phoenix, Arizona. At that time, he was

 provided with the Sixth Superceding Indictment. The Sixth Superceding Indictment was then

 formally unsealed on May 3, 2010.




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 Canez Files Three Pre-Trial Motions On June 15, 2010 And Requests An Extension To File
 Additional Motions:

         On June 15, 2010, Canez filed two pretrial motions (Docket Entry Nos. 291 & 292),

 along with a third motion wherein he asked this Court to extend the time for filing pretrial

 motions. (Docket Entry No. 293). This Court granted Canez’s request for an extension of time,

 ruling that pretrial motions could be filed no later than July 25, 2010. (See Docket Entry No.

 297).

 Seventh Superceding Indictment:

         After Canez filed the above motions, on July 20, 2010, the Grand Jury returned a Seventh

 Superceding Indictment. The Seventh Superceding Indictment charges Canez with Conspiracy to

 Possess with Intent to Distribute and to Distribute Marijuana, Over 1000 Kilograms, in violation

 of 21 U.S.C. §§ 841(a)(1) & 846 (Count I). It also contains allegations regarding criminal

 forfeiture.

 Additional Motions Filed By The Parties:

         On July 21, 2010, the Government filed its only pretrial motion – A Motion to Produce

 Voice Exemplars. (Docket Entry No. 305).

         On July 26, 2010, Defendant filed several additional motions. Thus, as of July 26, 2010,

 the following pretrial motions were pending before this Court:

 •       Defendant’s Motion to Dismiss Counts I & II the Indictment for Impermissible
         Vagueness (Docket Entry No. 291);

 •       Defendant’s Motion to Dismiss for Violations of Defendant’s Right to a Speedy Trial
         (Docket Entry No. 292;

 •       The Government’s Motion to Produce Voice Exemplars (Docket Entry No. 305);



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 •      Defendant’s Motion For Order Setting A Daubert Hearing (Docket Entry No. 311);

 •      Defendant’s Motion For Early Disclosure Of Brady And Jencks Act Information (Docket
        Entry No. 307);

 •      Defendant’s Motion for Government Agents To Retain Rough Notes (Docket Entry No.
        309);

 •      Defendant’s Motion For Pretrial Discovery, Rule 12(b)(4) Notice And Summary Of
        Expert Report (Docket Entry No. 310);

 •      Defendant’s Motion For Leave To File Bill Of Particulars (Docket Entry No. 312);

 •      Defendant’s Motion For Bill Of Particulars (Docket Entry No. 313);

 •      Defendant’s Motion To Dismiss Indictment For Government’s Failure To Preserve
        Evidence (Docket Entry No. 314); and

 •      Defendant’s Motion To Compel The Government To Produce Unredacted Documents
        (Docket Entry No. 315).

 Canez Requests Adjournment Of Motion Hearing:

        This Court set all of the pending motions for hearing on August 31, 2010. (Docket Entry

 No. 318). At the request of Canez, however, the hearing was adjourned until September 22,

 2010. (Docket Entry No. 320).

 The September 22, 2010 Hearing:

        At the September 22, 2010, the parties indicated, on the record, that the parties had

 resolved all pending pre-trial motions with the exception of the following four motions: 1)

 Defendant’s Motion to Dismiss for Violations of Defendant’s Right to a Speedy Trial (Docket

 Entry No. 292; 2) The Government’s Motion to Produce Voice Exemplars (Docket Entry No.

 305); 3) Defendant’s Motion For Order Setting A Daubert Hearing (Docket Entry No. 311); and

 4) Defendant’s Motion To Dismiss Indictment For Government’s Failure To Preserve Evidence



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 (Docket Entry No. 314).

          The Court then heard oral argument on those four motions and held an evidentiary

 hearing as to Defendant’s Motion to Dismiss For Violations of Defendant’s Right to a Speedy

 Trial.

          The Government presented testimony from one witness, Federal Bureau of Investigation

 (“F.B.I.”) Agent Michael Connelly. Defense Counsel cross-examined Agent Connelly. No other

 witnesses were presented at the hearing.

          Agent Connelly gave detailed testimony regarding the investigation. The Court finds

 Agent Connelly to be a highly credible witness and fully credits his testimony.

          Agent Connelly testified that in 2005 he began investigating a drug-trafficking

 organization in Detroit, Michigan after receiving information from a cooperating witness.

 During that investigation, the F.B.I. made several significant seizures of marijuana and cash in

 Detroit and Phoenix, Arizona.

          Agent Connelly testified, in detail, as to how lower-level members of the organization

 were identified and indicted and then provided information and/or cooperation which led to

 further indictments of higher-level members of the organization.

          In the spring of 2008, a cooperating witness identified Canez as supplying marijuana.

 Agent Connelly testified that during the time period from July 2008 through February 2009,

 the Government was aware of Canez’s role in the organization, but had no idea as to the

 individuals who comprised the next level of supply. That is, they did not know the identity of

 Canez’s supplier.

          Agent Connelly testified that he did not delay Canez’s arrest so that the Government


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 could gain a tactical advantage over Canez at trial. Rather, he testified that he did not arrest

 Canez until April 27, 2010, because he was trying to identify Canez’s supplier. He explained

 that Canez had been arrested prior to that time, the investigation of the next level of the

 organization would have been compromised. Agent Connelly testified that the F.B.I. had spent

 several years investigating this large-scale organization and that they felt they had a good chance

 of identifying Canez’s supplier if they waited to arrest Canez.

        Agent Connelly further testified that the officers had a plan to identify Canez’s supplier

 during this period of delay. The officers had learned that Canez had a particular warehouse in

 Phoenix that he used to transfer shipments of marijuana. If the officers could learn when the next

 shipment was expected, they could surveil that warehouse and interdict the courier bringing the

 shipment to Canez. They could then “work their way up the ladder” to the actual supplier to

 Canez. Ultimately, however, the officers were unable obtain the shipment information that they

 sought and Canez was arrested on April 27, 2010.

                                             ANALYSIS

 I.     Defendant’s Motion To Dismiss For Violations Of Defendant’s Right To A Speedy Trial
        (Docket Entry No. 292):

        In this motion, Canez seeks dismissal of the indictment under several different theories.

 First, he seeks dismissal under the Speedy Trial Act. Defendant also seeks dismissal of the

 indictment based on both pre-indictment delay and post-indictment delay.

        “Pre-indictment delay and post-indictment delay present separate issues. The former is

 governed by the Fifth Amendment, see United States v. Rogers, 118 F.3d 466, 475-76 (6th Cir.

 1997), while the latter is a Sixth Amendment matter, see United States v. Graham, 128 F.3d 372,



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 374 (6th Cir. 1997).” United States v. Schaffer, 586 F.3d 414, 424 (6th Cir. 2009). Thus, each

 asserted ground for relief will be addressed separately below.

        A.      Alleged Violation Of Speedy Trial Act:

        In his motion, Canez first asserts that the indictment should be dismissed under the

 Speedy Trial Act, 18 U.S.C. § 3161. Canez acknowledges, however, that the Speedy Trial Act

 “ostensibly” provides no protection for him because 70 days have not passed since he was first

 brought before the Court. (Def.’s Br. at 4). Nevertheless, he asserts that the Court should

 dismiss the indictment under the act because the “Act does not contemplate a 16-month delay

 between indictment and arrest.” (Id.). Canez has not provided any authority to support his

 position and the Court declines to dismiss the indictment under the Speedy Trial Act.

        B.      Pre-Indictment Delay (Due Process Clause of Fifth Amendment):

        Canez asserts that the 19 months that passed from the time of the first indictment in this

 case and the time that Canez was indicted constitute impermissible pre-indictment delay.

        Where an indictment is returned within the applicable statute of limitations period, it

 generally does not implicate Due Process concerns. United States v. Crawford, 60 Fed.Appx.

 520, 529 (6th Cir. 2003) (citing United States v. Lovasco, 431 U.S. 783, 789 (1977)). Here, there

 is no dispute that the Sixth and Seventh Superceding Indictments were returned with in the

 applicable statute of limitations.

        Nevertheless, pre-indictment delay may constitute a violation of Due Process under

 limited circumstances even if the indictment is filed within the applicable statute of limitations.

 To establish unconstitutional pre-indictment delay, the defendant must prove: 1) that the delay

 caused substantial prejudice to the defendant’s right to a fair trial; and 2) the delay was an


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 intentional device by the government to gain a tactical advantage over the accused. United States

 v. Rogers, 118 F.3d at 475-65. The Sixth Circuit has observed that the “standard for pre-

 indictment delay is nearly insurmountable,” especially because proof of actual prejudice is

 always speculative. United States v. Roger, 118 F.3d at 477 n.10.

         Here, Canez has not shown that the 19-month delay caused substantial prejudice to his

 right to a fair trial. In his brief, he essentially asserts that the delay may have impacted his

 defense, but that he cannot really articulate how:

         Because of the extraordinary delay, Mr. Canez’ case has not had the benefit of
         being party to the proceedings involving 14 of his co-defendants. This situation
         may compromise the reliability of a trial the way that neither party can prove, nor
         that matter, identify. It certainly cannot be expected that a mere review of the
         court’s docket sheet can provide defense counsel with sufficient information
         regarding the proceedings involving the co-defendants. It is unknown whether it
         may have been beneficial for defense counsel to have specific knowledge of the
         disposition of the co-defendants’ cases. This scenario most certainly raises due
         process concerns.

 (Def.’s Br. at 7). Thus, Canez has not even alleged actual prejudice, much less offered proof of

 actual prejudice.

         Canez has also failed to establish that the delay was an intentional device by the

 Government to gain a tactical advantage.

         The Government contends that this case involves a complex and far-reaching drug

 conspiracy, that operated over the course of several years, in several states. It asserts that it took

 the F.B.I. several years to investigate and dismantle the conspiracy. “Many separate indictments

 necessarily needed to be returned based on new information gained during the course of the

 investigation pertaining to activities of the organization and its participants. Lower level

 members/defendants were indicted and then provided information which resulted, in conjunction


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 with other evidence, in further indictments against other members of the conspiracy including

 high level participants such as defendant Canez.” (Govt.’s Br. at 1). Thus, the Government

 contends that any delay in returning an indictment against Canez resulted from investigative

 efforts. Canez has not offered any proof to establish otherwise.

        “It is well established that a delay resulting from investigative efforts ‘does not deprive [a

 defendant] of due process, even if his defense may have been somewhat prejudiced by the lapse

 of time.’” United States v. Rogers, 118 F.3d at 476 (quoting United States v. Atisha, 804 F.2d

 920, 928 (6th Cir. 1986)). Accordingly, the Court declines to dismiss the indictment for pre-

 indictment delay.

        C.      Post-Indictment Delay (Speedy Trial Provisions of Sixth Amendment):

        It is undisputed that there was a 16-month delay between Canez’s indictment and his

 arrest. Canez asserts that delay violates his right to a speedy trial under the Sixth Amendment.

        When a defendant’s constitutional right to a speedy trial has been violated, the only

 remedy is to dismiss the indictment with prejudice. Barker v. Wingo, 407 U.S. 514, 533 (1972).

        In determining whether a defendant has been denied a speedy trial in violation of the

 Sixth Amendment, the Court is to balance: 1) the length of the delay; 2) the reason for the delay;

 3) the defendant’s assertion of his right; and 4) the prejudice, if any, to the defendant. Barker,

 407 U.S. at 530; Graham, 128 F.3d at 374. The length of the delay for speedy trial purposes is

 measured from the earlier of the date of indictment or the date of the arrest, whichever is earlier.

 Redd v. Sowders, 809 F.2d 1266, 1269 (6th Cir. 1987). No single factor is sufficient to establish

 a Sixth Amendment violation, “[r]ather, they are related factors and must be considered together

 with such other circumstances as may be relevant.” Barker, 407 U.S at 533.


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        In its response to Defendant’s motion, the Government cited the above Barker test and

 advanced arguments as to why it believes the test is not met.

        On July 23, 2010, however, the Government filed a supplemental response brief in which

 is takes another position, “in the alternative.” In this supplemental brief, the Government argues

 that “the delay between the December 4, 2008 indictment and the arrest of the defendant [on]

 April 27, 2010 should be analyzed under the due process clause because the indictment was

 sealed until defendant’s arrest.” (Docket Entry No. 308 at 1).

        The Government asserts that several “circuits hold that were an indictment is sealed, the

 time between indictment and the unsealing of the indictment is analyzed under due process – that

 is, that the Sixth Amendment Speedy Trial Clause is not triggered until the indictment is

 unsealed.” (Id.). The Government acknowledges that the Sixth Circuit has not adopted this

 position. It asserts that in United States v. Jackson, 473 F.3d 660, 664 (6th Cir. 2007), the court

 “assumed without deciding” that the Speedy Trial Clause governed that period.

        The Court declines to adopt this alternative position advanced by the Government. In

 Jackson, the Sixth Circuit was aware that the indictment had been filed under seal yet still

 applied the Barker analysis. In addition, although neither party cited it, in an unpublished

 decision the Sixth Circuit appears to reject the proposition that delay while an indictment is

 sealed should not be considered:

        We note that this Court has implied that the speedy trial right is triggered by the
        filing of any indictment, whether sealed or not sealed . . . In Jackson, this Court
        considered a speedy trial challenge based on “the delays between the issuance and
        unsealing of the indictment and [defendant’s] trial.” Jackson, 473 F.3d at 664. . .
        This Court expressly recognized the distinction between pre- and post-unsealed
        indictment delay, but did not find that only post-unsealed indictment delay must
        be considered. Id. Moreover, the First, Fifth, and Eleventh Circuits have all


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        rejected a bright-line rule and instead, in accordance with the Supreme Court’s
        multi-factor balancing approach in Barker, have held that delay while an
        indictment is sealed may be considered.

 United States v. Williams, 231 Fed.Appx. 457, 463. (6th Cir. 2007) (emphasis in original).

 Accordingly, this Court shall analyze this ground for relief by applying the Barker multi-factor

 balancing approach.

                1.      Length Of Delay:

        “The length of delay is to some extent a triggering mechanism. Until there is some delay

 which is presumptively prejudicial, there is no necessity for inquiry into the other factors that to

 into the balance.” Barker, 407 U.S. at 530. In this matter, the Government concedes that the 16-

 month delay between indictment and arrest triggers a consideration of the remaining factors.

 (Docket Entry No. 301 at 9).

                2.      Reason For The Delay:

        The second factor, is the reason for the delay. “[D]ifferent weights should be assigned to

 different reasons. A deliberate attempt to delay the trial in order to hamper the defense should be

 weighted heavily against the government. A more neutral reason such as negligence or

 overcrowded courts should be weighted less heavily but nevertheless should be considered.”

 Barker, 407 U.S. at 531. “Finally, a valid reason, such as a missing witness, should serve to

 justify appropriate delay.” Id.

        This case does not involve a deliberate attempt by the Government to delay trial, or delay

 Canez’s arrest, in order to hamper the defense, nor does it involve negligence on the part of the

 Government in locating Canez. Rather, the Government has established, through the credible

 testimony of Agent Connelly, that the reason for the 16-month delay between the sealed


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 indictment and Canez’s arrest was for a legitimate law enforcement purpose – to allow the

 officers an opportunity to identify Canez’s supplier.

                3.      Assertion Of Right:

        Canez was arrested on April 27, 2010. At that time he was provided with a copy of the

 Six Superceding Indictment, which was formally unsealed on May 3, 2010. Canez then filed the

 instant motion on June 15, 2010. The Government concedes that the third factor, whether and

 how promptly the defendant asserted his right to a speedy trial, weighs in Canez’s favor because

 he promptly asserted his right to a speedy trial. (Govt.’s Br. at 11).

                4.      Prejudice:

        “Prejudice is to be assessed in light of the interests of defendants which the speedy trial

 right was designed to protect,” which are: 1) to prevent oppressive pretrial incarceration; 2) to

 minimize anxiety and concern of the accused; and 3) to limit the possibility that the defense will

 be impaired. Barker, 407 U.S. at 532.

        Here, Canez asserts that the 16-month delay between his indictment and his arrest

 violates his right to a speedy trial. Because the indictment was filed under seal, Canez only

 became aware of the indictment when he was arrested. Thus, Canez could not have experienced

 anxiety or concern during the 16-month period at issue. In addition, because he was not

 incarcerated during the 16-month time period at issue, that delay did not cause oppressive pretrial

 incarceration. Accordingly, the impairment of Canez’s defense is the sole remaining issue before

 the Court.

        Here, Canez has not offered any evidence of actual prejudice. Rather, he asserts that the

 length of the delay was so lengthy as to amount to being presumptively prejudicial for purposes


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 of the fourth step of the Barker analysis.

         In Jackson, however, the Sixth Circuit explained that when prejudice has been found to

 be presumptively prejudicial for purposes of the fourth step of the Barker analysis, the delay has

 been “shockingly long.” The court noted that the delay of more than five years between arrest

 and trial in Barker was not sufficient to dismiss the indictment on speedy trial grounds. The

 Jackson court concluded that “[b]ecause neither a ten- nor twenty-month delay is extraordinary

 under our precedents,” and given the lack of evidence of actual prejudice to the defendant or bad

 faith on the part of the government, the district court reasonably concluded there was no speedy

 trial violation.

         Like the delay in Jackson, the 16-month delay at issue here is not “shockingly long,” and

 there is no evidence of bad faith on the part of the Government. Thus, the delay at issue here is

 not sufficient under Sixth Circuit precedent to amount to being presumptively prejudicial for

 purposes of the fourth step of the Barker analysis.

         In sum, although Canez promptly asserted his right to a speedy trial following his arrest,

 there is no evidence of bad faith on the part of the Government and the Government has

 established that it filed the indictment under seal and delayed arrest for legitimate law

 enforcement purposes. Moreover, Canez has not established any actual prejudice and the delay at

 issue is not long enough to amount to being presumptively prejudicial for purposes of the fourth

 step. The Court shall therefore deny the motion.




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 II.    Defendant’s Motion For Order Setting A Daubert Hearing (Docket Entry No. 311:)

        On July 2, 2010, Canez filed a “Motion for Order Setting A Daubert Hearing.” In this

 motion, Canez notes that the Government is seeking a voice exemplar from him “in order to

 prove that it was the Defendant speaking during a recording made by a body bug worn by

 Morgan Mills, a witness for the Government.” (Docket Entry No. 311 at 1). Canez asserts –

 without citation to any authority – that “[i]n order for the introduction of such evidence the

 Government will be required to call an expert witness to identify the voice on the body bug

 recording as that of Canez.” (Id.). Canez states that the Government has not yet disclosed a

 voice identification expert and asserts that “if they do intend to call such an expert, he must be

 qualified and the basis of his scientific testimony must be established.” (Id.).

        In response, the Government asserts that a Daubert hearing is not necessary because the

 Government does not intend to call an expert witness to identify Canez’s voice on recordings it

 will introduce at trial. (Docket Entry No. 324 at 1).

        Because the Government does not intend to call an expert witness, a Daubert hearing is

 not required.

        Moreover, to the extent that Canez asserts that the Government cannot introduce the

 recordings in question without an expert witness, Canez has provided no authority for that

 assertion. In addition, the authority cited by the Government supports its position that no expert

 witness is required. The Government relies on FED . R. EVID . 901and United States v. Cooke, 795

 F.2d 527 (6th Cir. 1986).

        Rule 901 (a) provides that the “requirement of authentication or identification as a

 condition precedent to admissibility is satisfied by evidence sufficient to support a finding that


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 the matter in question is what its proponent claims.” Subsection (b)(5) provides the following as

 an example of authentication or identification conforming with this rule:

        (5) Voice identification. Identification of a voice, whether heard firsthand or
        through mechanical or electronic transmission or recording, by opinion based
        upon hearing the voice at any time under circumstances connecting it with the
        alleged speaker.

 FED . R. EVID . 901(b)(5). In discussing subsection, the Advisory Committee Notes to FED . R.

 EVID . 901(b) state that “[s]ince aural voice identification is not a subject of expert testimony, the

 requisite familiarity may be acquired either before or after the particular speaking which is the

 subject of the identification, in this respect resembling visual identification of a person rather

 than identification of handwriting.”

        In United States v. Cooke, the evidence the Government presented at trial included tape

 recordings of telephone conversations between the defendant and others involved in the alleged

 conspiracy. A cooperating co-defendant and an agent testified at trial. Recordings of the

 telephone conversations were played at trial and an agent, who testified he had heard the

 defendant speak in open court, identified the defendant’s voice. It also appears that a co-

 defendant (Brian Crossty) identified the defendant’s voice at trial. On appeal, the defendant

 challenged the manner of voice identification. The Sixth Circuit explained that the “standard for

 the admissibility of an opinion as to the identity of a speaker is merely that the identifier has

 heard the voice of the alleged speaker at any time.” Id. at 531. After noting that the agent had

 testified that he had heard the defendant’s voice in open court in both Florida and Ohio, and that

 Brian Crossty has testified that he had obtained marijuana from the defendant on at least fifteen

 occasions, the Sixth Circuit concluded that “the standard of admissibility was satisfied.” Id.



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        Accordingly, the Court concludes that, under FED . R. EVID . 901 and United States v.

 Cooke, the Government need not have an expert witness identify Canez’s voice at trial.

 III.   Defendant’s Motion To Dismiss Indictment For Government’s Failure To Preserve
        Evidence (Docket Entry No. 314:)

        In this motion, Canez notes that the Seventh Superceding Indictment mentions five

 separate seizures of marijuana. Canez asserts that a disclosure provided by the Government

 indicates that “all of the drug evidence in this case was destroyed after the Defendant was

 indicted but before he was arrested. As a consequence, he was never given notice of the

 destruction of the evidence. And, unless the Government can produce the appropriate

 documentation proving that samples were taken and testing was performed on the seizures of

 drug evidence,” the Government should not be permitted to introduce evidence of the seizures at

 trial. (Def.’s Br. at 2) (emphasis added).

        In response, the Government states that the motion is falsely premised because the

 Government “has not destroyed the drug evidence, rather it has destroyed the quantities of

 various marijuana seizures in excess of a certain threshold quantity which the government is

 required by regulation to maintain. In other words, the government has available representative

 samples of marijuana in this case pertaining to all actual seizures2 of marijuana from the

 organization.” (Govt.’s Br. at 1).

        At the September 22, 2010 hearing, Defense Counsel acknowledged that the Government



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         The Government does state that it did not actually seize the marijuana referenced on June
 17, 2006 date in the indictment. It contends that the “reference to the delivery of 1,100 pounds of
 marihuana by the organization to Kevin Brewer in Detroit (page 4 of the Seventh Superceding
 Indictment) will be proved circumstantially through other means.” (Id.).


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 had provided the documentation in question. He asserted, however, that after reviewing the

 documentation provided, he did not believe some items “matched up.” Defense Counsel

 indicated that, at this point, he cannot determine if evidence was destroyed or not. (See 9/22/10

 Hrg. Tr.). Accordingly, Defendant has not established that the Government has failed to preserve

 any evidence and the Court shall deny this motion without prejudice.3

                                    CONCLUSION & ORDER

        For the reasons set forth above, IT IS ORDERED that:

        1)      Defendant’s Motion to Dismiss for Violations of Defendant’s Right to a
                Speedy Trial (Docket Entry No. 292) is DENIED;

        2)      Defendant’s Motion For Order Setting A Daubert Hearing (Docket Entry
                No. 311) is DENIED; and

        3)      Defendant’s Motion To Dismiss Indictment For Government’s Failure To
                Preserve Evidence (Docket Entry No. 314) is DENIED WITHOUT
                PREJUDICE.

        IT IS SO ORDERED.


                                              S/Sean F. Cox
                                              Sean F. Cox
                                              United States District Judge

 Dated: September 24, 2010

 I hereby certify that a copy of the foregoing document was served upon counsel of record on
 September 24, 2010, by electronic and/or ordinary mail.

                               S/Jennifer Hernandez
                               Case Manager


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         At the September 22, 2010 hearing, the Government offered to review the documentation
 with Defense Counsel. The parties agreed that, if they cannot resolve this issue after meeting and
 conferring, Defendant may raise this issue at trial.


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